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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
 __________________________________________
                                            )
NICOLE DUCHARME,                            )
                                            ) Civil Action No.: 2:18-cv-04484
                 Plaintiff,                 )
      v.                                    ) Div. 1
                                            )
MARY SALZER, CRESCENT CITY DEJA VU,         ) MAGISTRATE JUDGE
L.L.C.,                                     ) JANIS VAN MEERVELD
                                            )
                Defendants.                 )
_________________________________________

                     CONSENT MOTION FOR LEAVE TO
               FILE PLAINTIFF’S FIRST AMENDED COMPLAINT

     Plaintiff Nicole Ducharme, by and through undersigned counsel, requests leave of

court to file her First Amended Complaint. In support, counsel states the following:

     Good cause exists for this Court to grant leave to Plaintiff to file the attached

amended complaint. Magistrate Judge van Meerveld ordered counsel to file leave to

amend the original complaint in order to assert Fair Labor Standards Act claims against

Defendant Mary Salzer. R. Doc. 19.

     On September 6th, 2018, counsel for Defendants gave his consent for the filing of

this First Amended Complaint.

     For these reasons, leave should be granted according to Rules 15 and 16 of the

Federal Rules of Civil Procedure.

     WHEREFORE, Plaintiff respectfully requests that this Court grant leave to file the

attached Amended Complaint.




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                                      Respectfully submitted,

                                      NICOLE DUCHARME,
                                      by and through her counsel,

                                      /s/ William Most__________
                                      WILLIAM MOST
                                      La. Bar No. 36914
                                      201 St. Charles Ave., Ste. 114, # 101
                                      New Orleans, LA 70170
                                      T: (504) 509-5023
                                      Email: williammost@gmail.com

                             CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2018, a copy of the Plaintiff’s Consent

Motion for Leave to File Plaintiff’s First Amended Complaint was filed electronically

with the Clerk of Court via the CM/ECF system. Notice of this filing will be sent to all

counsel of record by operation of the court’s electronic filing system.


                                           _/s/ William Most____________
                                              William Most




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